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UNITED STATES DISTRICT COURT
DISTRICT OF RHODE ISLAND

PETER BIBBY

V. CA 09-529 ML
JOSEPH F. RODGERS, JUDGE and
ADMINISTRATOR OF SUPERIOR COURT,
STATE OF RHODE ISLAND,

MAGISTRATE HARWOOD, and
JANE AND JOHN DOE, CLERKS

MEMORANDUM AND ORDER

On December 15, 2009, Magistrate Judge Martin issued a Report and
Recommendation in which he recommended that the complaint be dismissed for failure
to state a claim upon which relief can be granted. 28 U.S.C. § 1915(e)(2). Plaintiff was
notified in the Report and Recommendation that any objection to the Report and
Recommendation had to be filed within 14 days of his being served with a copy.

On December 29, 2009, Plaintiff filed a request for an extension of 30 days to file
his objections to the Report and Recommendation. On December 30, 2009, this Court
granted Plaintiff's request for the 30-day extension.

On January 22, 2010, Attorney Keven McKenna entered his appearance on
Plaintiff's behalf. Also on January 22, 2010, Attorney McKenna filed a request for
“additional time to . . . file the objection to Magistrate Martin’s memorandum (sic).”
(Docket # 12) On January 25, 2010, this Court issued an order granting the motion for
“additional time” and set February 5, 2010 as the deadline for filing any such objection.

No objection was filed by February 5, 2010.
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On February 10, 2010, Plaintiff filed a Motion for Extension of Time pro se wherein
he advises that “Keven McKenna needs additional time to prepare a response.”

In view of the travel of this case, as well as its predecessor, as detailed in
Magistrate Judge Martin’s December 15, 2009 Report and Recommendation, this Court
sees no good reason to grant Plaintiffs latest request for additional time, purportedly on
behalf of his retained counsel.

The Court, therefore, DENIES Plaintiffs request for an extension. Moreover,
having considered the Report and Recommendation and the dismissal of Plaintiff's
previous litigation of these same claims, this Court is of the opinion that no further delay
in entering judgment in favor of Defendants is warranted.

Accordingly, the Report and Recommendation is adopted in its entirety and this

matter is hereby DISMISSED.

SO ORDERED:

Mary M. Lisi
Chief United States District Judge
February /2 , 2010
